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 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA      )          CR NO. S-07-0483 LKK
                                   )
12                 Plaintiff,      )          ORDER CONTINUING STATUS
                                   )          CONFERENCE AND FINDING
13         v.                      )          EXCLUDABLE TIME
                                   )
14                                 )
     CHARLES GOODEN,               )
15     aka “Charlie Hustle”;       )
     RONNIE JAMES WILLIAMS, Jr.,   )
16     aka “Big”;                  )
     DERENCE LAMONT JORDAN,        )
17     aka “D”;                    )
     TRAVIS DAVIS, and             )
18   AIMEE LEE COX,                )
                                   )
19                   Defendants.   )
     ______________________________)
20
21        This matter came on regularly for Status Conference on August
22   5, 2008, in the courtroom of the Honorable Lawrence K. Karlton.
23   Lindsay Weston appeared on behalf of defendant, Charles Gooden who
24   was personally present.    Peter Kmeto appeared on behalf of
25   defendant, Ronnie James Williams, Jr., who was personally present.
26   John Manning appeared for defendant, Aimee Lee Cox, and specially
27   appeared on behalf of David Kurowsky for defendant Darence Jordan;
28   both Ms. Cox and Mr. Jordan were personally present.         Dan Koukol and

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 1   Daniel Clymo appeared for Travis Davis, who was personally present.
 2   Daniel Clymo replaced Dan Koukol as counsel of record for Travis
 3   Davis.     Assistant U.S. Attorney Russell L. Carlberg appeared on
 4   behalf of the United States.
 5        Upon motion of the defendants, the Court continued the next
 6   status conference in this case to September 16, 2008 at 9:30 a.m.
 7   The government has provided hundreds of pages of discovery, videos,
 8   audio recordings, and still photographs that the defense attorneys
 9   need to review.      The continuance is necessary for counsel adequately
10   to review the discovery provided by the government, go over the
11   discovery with their clients and to conduct further investigation in
12   the case.     Thus, the requested continuance is for effective and
13   diligent preparation of counsel.
14        The Court finds that the interests of justice served by
15   granting this continuance outweigh the best interests of the
16   public and the defendant in a speedy trial, 18 U.S.C. §§ 3161
17   (h)(8)(B)(iv) (local code T-4) and time, therefore, will be excluded
18   from August 5, 2008 through and including September 16, 2008.
19   DATE: August 15, 2008
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